       Case 1:25-cv-00240-ACR         Document 72-2        Filed 03/07/25   Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


  NICOLAS TALBOTT, ERICA VANDAL, KATE                  )
  COLE, GORDON HERRERO, DANY                           )
  DANRIDGE, JAMIE HASH, MIRIAM                         )
  PERELSON, MINERVA BETTIS, AUDRIE                     )
  GRAHAM, ROAN PICKETT, AMIAH SALE,                    )
  QUINN TYSON, CLAYTON McCALLISTER,                    )
  GREYSON SHISHKINA, KODA NATURE,                      )
  CAEL NEARY, MICHELLE BLOOMROSE,                      )
  SAMUEL AHEARN, VERA WOLF, and REGAN                  )
  MORGAN,                                              )
                                                       )
                        Plaintiffs,                    )
                                                       )
  v.                                                   )
                                                       )
                                                             Civil Action No. 25-cv-240-ACR
  THE UNITED STATES OF AMERICA; PETER                  )
  B. HEGSETH, in his official capacity as Secretary    )
  of Defense; MARK AVERILL, in his official            )
  capacity as Acting Secretary of the Army; the        )
  UNITED STATES DEPARTMENT OF THE                      )
  ARMY; TERENCE EMMERT, in his official                )
  capacity as Acting Secretary of the Navy; the        )
  UNITED STATES DEPARTMENT OF THE                      )
  NAVY; GARY ASHWORTH, in his official                 )
  capacity as Acting Secretary of the Air Force; the   )
  UNITED STATES DEPARTMENT OF THE AIR                  )
  FORCE; TELITA CROSLAND, in her official              )
  capacity as Director of the Defense Health Agency;   )
  and the DEFENSE HEALTH AGENCY,                       )
                                                       )
                    Defendants.                        )
  ________________________________________             )


       Upon consideration of the Renewed Application of Plaintiffs for a Preliminary Injunction

and the entire record herein, it is hereby ORDERED that:

       Plaintiffs’ renewed request for a Preliminary Injunction is GRANTED.
      Case 1:25-cv-00240-ACR            Document 72-2          Filed 03/07/25   Page 2 of 2




       It is FURTHER ORDERED that Defendants are prohibited from categorically excluding

transgender people from the military;

       Plaintiffs Nicolas Talbott, Erica Vandal, Kate Cole, Gordon Herrero, Dany Dandridge,

Jamie Hash, Miriam Perelson, Minerva Bettis, Audrie Graham, Roan Pickett, Amiah Sale, Quinn

Tyson, Michelle Bloomrose, Vera Wolf, and Regan Morgan may not be separated from the

military, denied reenlistment, demoted, denied promotion; denied medically necessary treatment

on a timely basis; required to adhere to facilities, grooming, housing, or other sex-specific

standards associated with their birth sex; required to use pronouns or honorifics associated with

their birth sex; placed on administrative leave for being transgender or for not conforming to

standards associated with their birth sex; or otherwise receive adverse treatment or differential

terms of service on the basis that they are transgender; and

       Plaintiffs Koda Nature, Cael Neary, Samuel Ahearn, Clayton McCallister, and Greyson

Shishkina may not be denied the opportunity to accede to military service or be denied promotion,

reenlistment, or any other equal terms of service on the basis that they are transgender.



Date:_______________________________                 ____________________________________
                                                     The Honorable Ana C. Reyes
                                                     United States District Judge




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